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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     Case No. 1:17-cv-60426-UU

  ALEKSEJ GUBAREV, et al.,

         Plaintiffs,

  v.

  BUZZFEED, INC., et al.,

        Defendants.
  ____________________________________/

                                               ORDER

         THIS CAUSE comes before the Court sua sponte.

         THE COURT has considered the pertinent portions of the record and is otherwise fully

  advised in the premises.

         The record contains voluminous documents which have been filed under seal, but—with

  the exception of the materials addressed in Magistrate Judge O’Sullivan’s Sealed Order dated

  February 23, 2018 (D.E. 144) and the Court’s Order dated September 10, 2018 (D.E. 203)—the

  parties have not shown good cause to justify sealing. In its September 19, 2018 Order granting

  the parties’ Joint Motion Regarding Sealing of Motion Papers (D.E. 209), the Court ordered the

  parties “to file with each sealed document a notice setting forth good cause for sealing.” D.E.

  210. The notices filed by the parties to date are woefully inadequate, citing only to the existence

  of a blanket protective order, 1 and do not establish good cause.


  1
     Indeed, this Court expressly stated in the original blanket protective order that “any party
  seeking to file a motion or other paper under seal must comply fully with Local Rule 5.4(b).”
  D.E. 41 ¶ 9 (handwritten edits). Local Rule 5.4(b)(1) requires a party seeking to file a court
  paper under seal to “set[] forth the factual and legal basis for departing from the policy that Court
  filings are public.” S.D. Fla. L.R. 5.4(b)(1). Though the amended protective order entered by
  Magistrate Judge O’Sullivan (D.E. 97) omits this express language, the Court holds that the

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            “The determination of good cause cannot be elided by allowing the parties to seal

  whatever they want . . . . The judge is the primary representative of the public interest in the

  judicial process and is duty-bound therefore to review any request to seal the record (or part of

  it).” Citizens First Nat’l Bank of Princeton v. Cincinnati Ins. Co., 178 F.3d 943, 945 (7th Cir.

  1999).

            In an effort to properly execute its duty, the Court intends to promptly audit the sealed

  filings for the purpose of entering Orders sealing or unsealing documents as the law requires,

  utilizing the following procedure with which the parties must comply.

                1. ON OR BEFORE WEDNESDAY, DECEMBER 5, 2018, the parties shall

                    jointly file, under seal, a list of each of the sealed documents, testimony, 2 or other

                    information filed in this case, with the exception of the materials addressed in

                    Magistrate Judge O’Sullivan’s Sealed Order dated February 23, 2018 (D.E. 144)

                    and the Court’s Order dated September 10, 2018 (D.E. 203). The list shall also

                    include: (1) each party’s position as to whether the particular document,

                    testimony, or information should be unsealed (answering yes or no only); (2) if

                    one or more party does not consent to unsealing, each party’s short recitation (no

                    more than four sentences per document, portion of testimony, or piece of

                    information) of the good cause for sealing (or lack thereof) 3; (3) whether the


  parties nevertheless are still bound to comport with Local Rule 5.4(b). Notably, the blanket
  protective order elsewhere provides that “there shall be no presumption by the Court that
  materials are Confidential and/or Attorneys’ Eyes Only simply because a Party has so designated
  the materials. A party cannot make confidential that which the law does not recognize as
  confidential, simply by designating it as such.” D.E. 97 ¶ 13; see also D.E. 41 ¶ 12.
  2
      Including but not limited to deposition testimony, affidavits, and declarations.
  3
   The good cause for sealing may include, but must not be limited to, the fact that the document
  or testimony has been marked “Confidential” or “Attorneys’ Eyes Only” by any party or non-
  party in this or any other action. The description of good cause may include, among other

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                 document, testimony, or information has ever been in the public domain, without

                 regard to whether the document, testimony, or information currently is publicly

                 available (answering yes or no only); and (4) the identification, by name only, of

                 any non-parties to the action who may be adversely affected by the unsealing of

                 the document, testimony, or other information.

             2. The list SHALL substantially conform to the following template:

      Brief          Docket          Consent to        If No            Has             Non-
      Description    Entry           Unseal?           Consent,         Document,       Parties
      of the         Number(s)       (Y/N)             Each Party’s     Testimony, or   Who May
      Document,      including                         Brief            Information     Be
      Testimony      Exhibit                           Description of   Ever Been in    Adversely
      or             Numbers, if                       Good Cause       Public          Affected by
      Information    applicable                        for Sealing      Domain?         Unsealing
                                                       (or Lack         (Y/N)
                                                       Thereof)
  1                                  Plaintiffs:       Plaintiffs:

                                     Defendants:       Defendants:

  2                                  Plaintiffs:       Plaintiffs:

                                     Defendants:       Defendants:

  3                                  Plaintiffs:       Plaintiffs:

                                     Defendants:       Defendants:



             3. The Court may, if appropriate, require the parties to provide notice to any

                 identified non-parties regarding sealing or unsealing.



  factors, whether allowing access would impair court functions or harm legitimate privacy
  interests, the degree of and likelihood of injury if made public, the (un)reliability of the
  information, any lack of opportunity to respond to the information, the (un)availability of a less
  onerous alternative to sealing the documents, and—without rehashing the arguments in the
  underlying pretrial motions—whether the information concerns public officials or public
  concerns. Romero v. Drummond Co., 480 F.3d 1234, 1246 (11th Cir. 2007).

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          DONE AND ORDERED in Chambers, Miami, Florida, this _19th_ day of November,

  2018.



                                                ________________________________
                                                URSULA UNGARO
                                                UNITED STATES DISTRICT JUDGE
  cc: counsel of record via cm/ecf




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